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1    KEVIN V. RYAN (CABN 118321)                                  TES D      TC
     United States Attorney                                     TA




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     MARK L. KROTOSKI (CABN 138549)
                                                                                   DERED




                                                      UNIT
3    Chief, Criminal Division                                          O OR
                                                               IT IS S
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                                                                                                  R NIA
     JOHN N. GLANG (GUAMBN 94012)
     Assistant United States Attorney
5                                                                                     re
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                                                      NO
         150 Almaden Boulevard, Suite 900                               Judge Ja




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6        San Jose, California 95113




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         Telephone: (408)-535-5084
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         Fax: (408)-535-5066                                                                 C
                                                                    N                 OF
8    Attorneys for Plaintiff                                            D IS T IC T
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9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN JOSE DIVISION
12
13
     UNITED STATES OF AMERICA,                    )        No. CR 05-00723-JW
14                                                )
                               Plaintiff,         )
15                                                )        STIPULATION AND ORDER
                      v.                          )        RESCHEDULING STATUS HEARING
16                                                )        AND EXCLUDING TIME
     PONG LIN LIU, et al,                         )
17                                                )
                               Defendants.        )
18                                                )
19
20           IT IS HEREBY STIPULATED by the undersigned that the status hearing in this case,
21   currently scheduled for Monday, July 31, 2006 at 1:30 p.m. be vacated and rescheduled for
22   Monday, October 2, 2006 at 1:30 p.m. The parties further stipulate that the court may exclude
23   the period of time from July 31, 2006 through and including October 2, 2006 from the
24   computation of the period of time within which the trial must commence for the reasons set forth
25   in the proposed order below.
26   It is so stipulated.
27
     Dated: ______________                                 ______________________________
28                                                         JOHN N. GLANG
                                                           Assistant U.S. Attorney

     STIPULATION AND ORDER RESCHEDULING STATUS HEARING DATE AND EXCLUDING TIME
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1
     Dated: ______________                                 _______________________________
2                                                          KURT K. ROBINSON
                                                           Attorney for Pong Lin Liu
3
4    Dated: ______________                                 ________________________________
                                                           CARLEEN R. ARLIDGE
5                                                          Attorney for Derrick Vu
6
     Dated: ______________                                 ________________________________
7                                                          SHAWN R. PARR
                                                           Attorney for Phuong Nguyen
8
9    Dated: ______________                                 ________________________________
                                                           MATTHEW T. NEWMAN
10                                                         Attorney for Bounxou Billamay
11
     Dated: ______________                                 ________________________________
12                                                         VICKI H. YOUNG
                                                           Attorney for Chan Ho Mg Mg Liu
13
14   Dated: ______________                                 ________________________________
                                                           MICHELLE D. SPENCER
15                                                         Attorney for Man Ning Tao
16
     Dated: ______________                                 ________________________________
17                                                         STEVEN F. GRUEL
                                                           Attorney for Man Nei Lui
18
19
20                                                ORDER
21      Based upon the stipulation of the parties, it is hereby ordered that the status hearing in this
22   case, previously scheduled for July 31, 2006 at 1:30 p.m., be vacated and rescheduled for
23   Monday, October 2, 2006 at 1:30 p.m.
24      Pursuant to Title 18, United States Code, Section 3161(h), the court excludes the period of
25   time from July 31, 2006 through and including October 2, 2006 from the computation of the
26   period of time within which the trial must commence. The court FINDS that the ends of justice
27   served by the delay outweigh the best interest of the public and the defendants in a speedy trial.
28   The court bases this finding on the need of some of the defense counsel in this case to continue to


     STIPULATION AND ORDER RESCHEDULING STATUS HEARING DATE AND EXCLUDING TIME
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1    review discovery provided by the government and determine whether any pretrial motions will be
2    made, the need of the parties to attempt to negotiate possible dispositions in this case, the
3    complexity of the case, and as time necessary for effective preparation, within the meaning of 18
4    U.S.C. Section 3161(h)(8)(B)(iv).
5
     It is so ordered:
6
              07/13/06
     Dated: ________________                               ________________________________
7                                                          JAMES WARE
                                                           United States District Judge
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     STIPULATION AND ORDER RESCHEDULING STATUS HEARING DATE AND EXCLUDING TIME
     CR 05-00723-JW                                  3
